Case 1:22-cr-00673-LAK   Document 450-4   Filed 06/14/24   Page 1 of 21




             EXHIBIT D
         Case 1:22-cr-00673-LAK
               Case 22-11068-JTD Document
                                  Doc 10331
                                          450-4
                                             FiledFiled
                                                  03/25/24
                                                        06/14/24
                                                              Page Page
                                                                   1 of 42 of 21




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

          Debtors.                                               (Jointly Administered)

                                                                 Ref Nos. 8676 & 10189


           ORDER (A) AUTHORIZING THE DEBTORS TO ENTER INTO
    GLOBAL SETTLEMENT AGREEMENT WITH BLOCKFI; (B) APPROVING THE
    GLOBAL SETTLEMENT AGREEMENT; AND (C) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), for entry of an order (this “Order”)

(a) authorizing the Debtors to enter into the Global Settlement Agreement, which is attached

hereto as Exhibit 1, (b) approving the Global Settlement Agreement, and (c) granting certain

related relief; and this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and this Court being able to issue a

final order consistent with Article III of the United States Constitution; and venue of these

Chapter 11 Cases and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and

1409; and this matter being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court

having found that proper and adequate notice of the Motion and the relief requested therein has



1
     The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of
     debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal
     tax identification numbers is not provided herein. A complete list of such information may be obtained on the
     website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The principal place of
     business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill
     Road, St. John’s, Antigua and Barbuda.

2
     Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.



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      Case 1:22-cr-00673-LAK
            Case 22-11068-JTD Document
                               Doc 10331
                                       450-4
                                          FiledFiled
                                               03/25/24
                                                     06/14/24
                                                           Page Page
                                                                2 of 43 of 21




been provided in accordance with the Bankruptcy Rules and the Local Rules; and objections (if

any) to the Motion having been withdrawn, resolved or overruled on the merits; and upon the

record of the Motion and supporting documents; and this Court having found and determined

that the relief set forth in this Order is in the best interests of the Debtors and their estates; and

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor;

                IT IS HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized to enter into the Global Settlement Agreement.

                3.      The terms of the Global Settlement Agreement are approved in their

entirety.

                4.      The failure to specifically include or reference any particular term or

provision of the Global Settlement Agreement in this Order shall not diminish or impair the

effectiveness of such term or provision.

                5.      BlockFi shall have the following allowed claims against the applicable

Debtor:

                        a. allowed secured claims held by BlockFi Lending LLC (“BlockFi

                            Lending”) and BlockFi International Ltd. (“BlockFi International”)

                            against FTX Debtor Alameda Research Ltd. (“Alameda”) in the

                            aggregate amount of $250,000,000, of which $43,820,000 shall be

                            allocated to BlockFi Lending and $206,180,000 shall be allocated to

                            BlockFi International, in each case entitled to post-petition interest to

                            be calculated at the federal judgment interest rate as set forth in 28




                                                   -2-
     Case 1:22-cr-00673-LAK
           Case 22-11068-JTD Document
                              Doc 10331
                                      450-4
                                         FiledFiled
                                              03/25/24
                                                    06/14/24
                                                          Page Page
                                                               3 of 44 of 21




                            U.S.C. § 1961 (the “Federal Judgment Rate”) through the date of

                            effectiveness of the chapter 11 plan of the Debtors (the “FTX Plan”);

                         b. allowed general unsecured claims held by BlockFi Lending and

                            BlockFi International against Alameda in the aggregate amount of

                            $439,319,866.07, of which $77,003,986.12 shall be allocated to

                            BlockFi Lending and $362,315,879.95 shall be allocated to BlockFi

                            International, in each case entitled to post-petition interest if and to the

                            extent provided to other similarly situated general unsecured claims in

                            any FTX Plan at the Federal Judgment Rate or such higher rate; and

                         c. an allowed customer claim held by BlockFi International against FTX

                            Trading Ltd. in the amount of $185,196,611.28, entitled to post-

                            petition interest if and to the extent provided to other similarly situated

                            customer claims in any FTX Plan at the Federal Judgment Rate or such

                            higher rate.

               6.        Other than as expressly provided herein, all claims asserted by BlockFi

against the Debtors are hereby deemed WITHDRAWN with prejudice and EXPUNGED,

including the following proofs of claim:

                         a. Claim Nos. 3245, 4091, and 4325 filed by BlockFi Inc.;

                         b. Claim Nos. 4181 and 4214 filed by BlockFi International Ltd.; and

                         c. Claim Nos. 4052, 4317, 4227 filed by BlockFi Lending LLC.

               7.        The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.




                                                  -3-
             Case 22-11068-JTD         Doc 10331      Filed 03/25/24     Page 4 of 4
               8.     The requirements set forth in Bankruptcy Rule 6004(a) are waived.
               9.     This Order is immediately effective and enforceable, notwithstanding the
possible applicability of Bankruptcy Rule 6004(h) or otherwise.
               10.    This Court shall retain jurisdiction with respect to any matters, claims,
rights or disputes arising from or related to the Motion or the implementation of this Order.
       Dated: March 25th, 2024                           JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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                                                -4-
     Page 5 of 21      Filed 06/14/24      Document 450-4         Case 1:22-cr-00673-LAK
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                            10331-1
                                 450-4
                                     FiledFiled
                                           03/25/24
                                                06/14/24
                                                      PagePage
                                                           1 of 16
                                                                 6 of 21




                              Exhibit 1

                    Global Settlement Agreement
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          1:22-cr-00673-LAK
               22-11068-JTD               Doc
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                                              10331-1
                                                   450-4
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                                                                          3 of 16
                                                                                8 of 21




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"@2?=2:>2?5E96==@H65*?D64FC65"@2?=2:>E96N=@4<:==@H65=2:>DO


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                                                                      PagePage
                                                                           4 of 16
                                                                                 9 of 21




          3    )C2?D76CD @7 ==@H65 =@4<: =2:>D  7764E:G6 2D @7 E96 52E6 @7 E9:D =@32=
(6EE=6>6?E8C66>6?EE96=@4<:==@H65=2:>DD92==36:>>65:2E6=J2?57C66=JEC2?D76C23=6
:?H9@=6@C:?A2CEAC@G:565E92E2?JEC2?D76C66@72?JA@CE:@?@7@C:?E6C6DE:?E96=@4<:
==@H65=2:>D62492N)C2?D76C66OD92==2D24@?5:E:@?E@DF49EC2?D76C62492N)C2?D76CO
28C66E@363@F?53JE96E6C>D@7E9:D=@32=(6EE=6>6?E8C66>6?EH:E9C6DA64EE@E9624BF:C65
A@CE:@?@7E96=@4<:==@H65=2:>D>FE2E:D>FE2?5:D3J6I64FE:?82?556=:G6C:?8E@E96)-
63E@CD 2 ;@:?56C 28C66>6?E DF3DE2?E:2==J :? E96 7@C> 2EE24965 96C6E@ 2D I9:3:E  6249 2
N @:?56CO*A@?4@>A=:2?46H:E9E967@C68@:?8=@4<:D92==36566>65E@C6=:?BF:D9:EDC:89ED
2?536C6=62D657C@>:ED@3=:82E:@?D6I46AE7@C2?J4=2:>7@C3C6249@7E9:D=@32=(6EE=6>6?E
8C66>6?EE92E@44FCDAC:@CE@DF49EC2?D76CF?56CE9:D=@32=(6EE=6>6?E8C66>6?EH:E9C6DA64E
E@ E96 EC2?D76CC65 A@CE:@? @7 E96 =@4<: ==@H65 =2:>D 2?5 E@ E96 6IE6?E @7 DF49 EC2?D76CC65
C:89ED2?5@3=:82E:@?D$@EH:E9DE2?5:?82?JE9:?8E@E964@?EC2CJ96C6:?6?ECJ:?E@2 @:?56CD92==
?@EC6BF:C6@C@E96CH:D642FD62)C2?D76C66E@C6=62D62?J=2:>D282:?DE2?J&2CEJ@E96CE92?2?J
=2:>DC6=2E65E@@C2C:D:?8@FE@7E96)-&C@@7D@7=2:>@CE96=@4<:&C@@7D@7=2:>)96
)-63E@CDD92==FA@?C62D@?23=6C6BF6DE@7=@4<:6I64FE65@4F>6?E2E:@?4@?7:C>:?8E96
2==@H2?46@7E96=@4<:==@H65=2:>D:?E96)-2?<CFAE4J&C@4665:?8D2?524<?@H=658:?8
E92EE96D2=62?5EC2?D76C@7=@4<:==@H65=2:>DH:E9@FEC64@FCD6@C5:D4@F?E:DA6C>:EE65
F?56CE96E6C>D@7E9:D=@32=(6EE=6>6?E8C66>6?E

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2?56I46AE2DC6BF:C65E@:>A=6>6?EE96DD:8?>6?E@7':89ED36=@H=@4<:96C63JH2:G6D2?5
C6=62D6D7@C2==AFCA@D6D2?J2?52===2:>D2D567:?65:? *(L           282:?DEE96)-
63E@CD@CH:E9C6DA64EE@2?JAC@A6CEJ:?H9:49E96)-63E@CD92G696=5@C>2J9@=52?J
4@?7=:4E:?8:?E6C6DE:?4=F5:?8E96=@4<:=2:>D2?52==4=2:>D2C8F>6?ED5676?D6DC:89ED2?5
@E96CH:D6H:E9C6DA64EE@2?JAC@A6CEJAFCA@CE65=JA=658652D4@==2E6C2=3J@C@?3692=7@7E96
)- 63E@CD E@ =@4<: 2?5 E96 AC@4665D E96C6@7 :?4=F5:?8 : 2== '@3:?9@@5 D92C6D E96
N%%(92C6DOAFCA@CE65=JA=658653J=2>6522?5 @C>6C86?E:56=:EJ)649?@=@8:6D?4
N>6C86?EOE@@C7@CE9636?67:E@7=@4<:::2DD6ED96=5:?244@F?ED2E#2?2A:E2=
#2C<6ED?4? < 2#2C6I2A:E2=#2C<6ED?4:?E96?2>6@7=2>652@C>6C86?E:::2==
(@=2?2 E@<6?D 96=5 :? E92E 46CE2:? @:?32D6 FDE@5J ?E6C?2E:@?2= ":>:E65 244@F?E ?2>65
N=2>652'6D62C49"E5M=@4<:"@2?@==2E6C2=OE96N@:?32D6(%"O2?5:G46CE2:?(6CF>
E@<6?DE96N('#O

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)-63E@CD96C63JH2:G62?5C6=62D67@C2==AFCA@D6D2===2:>D282:?DE=@4<::?4=F5:?8E96
)-=2:>D@CE962G@:52?46@75@F3E,'(C6E2:?D2==C:89ED2?5:?E6C6DED:?E96,'(==@H65
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2== @7 E96 =@4<: &C@@7D @7 =2:> D92== 36 566>65 5:D2==@H65 2?5 6IAF?865 :? E96 )-
2?<CFAE4J&C@4665:?8D2?56I46AE7@CE96,'(==@H65=2:>2==@7E96)-&C@@7D@7=2:>
D92==36566>655:D2==@H652?56IAF?865:?E96=@4<:2?<CFAE4J&C@4665:?8D

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                                                      06/14/24
                                                             PagePage
                                                                  5 of 16
                                                                       10 of 21




      5  DD:8?>6?E @7 ':89ED H:E9 '6DA64E E@ &C@4665D @7 %% (92C6D 2?5 @:?32D6
(%"2?5@@A6C2E:@?H:E9'6=62D6E@)-63E@CD

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E@E96)-63E@CD2==@7:EDC:89ED:72?JH:E9C6DA64EE@E96AC@4665D@7E96%%(92C6D96=5
3JE96*(6A2CE>6?E@7 FDE:46:?4=F5:?8C:89ED2C:D:?87C@>@CC6=2E:?8E@2?JAFCA@CE65A=6586
7C@>2?J@7E96)-63E@CD@C>6C86?E2?52?J8F2C2?E66AC@G:5653J>6C86?E:?4=F5:?8:?
4@??64E:@?H:E92?J7@C76:EFC6C6DE:EFE:@?@C@E96C=682=AC@4665:?8AC@46DD@C5:DEC:3FE:@?H:E9
C6DA64EE@DF49AC@4665D=@4<:D92==FA@?C62D@?23=6C6BF6DE@7E96)-63E@CD6I64FE6
5@4F>6?E2E:@?4@?7:C>:?8E962DD:8?>6?E@7DF49C:89EDE@E96)-63E@CD

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63E@CDD92==FD64@>>6C4:2==JC62D@?23=6677@CEDE@4@@A6C2E6E@AC@>AE=J@3E2:?E96C6=62D62?5
C6EFC?E@E96)-63E@CD@7:E96AC@4665D@7E96%%(92C6D::E96@:?32D6(%"2?5
:::E96('#:?4=F5:?83J6I64FE:?82?J?646DD2CJ5@4F>6?E2E:@?E@67764EF2E6DF49C6=62D62?5
C6EFC?E@E96)-63E@CD

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4@>>6C4:2==J C62D@?23=6 677@CED E@ C6D@=G6 C6>2:?:?8 4=2:>D 2?5 5:DAFE6D H:E9 >6C86?E
4@?46C?:?82?J:DDF6255C6DD65:?E9:D=@32=(6EE=6>6?E8C66>6?E

        6    =2DD:7:42E:@?@7=@4<:==@H65=2:>DF?56C)-&=2?)96)-63E@CD>2J
:?E96:CD@=65:D4C6E:@?4=2DD:7JE96==@H65(64FC65"@2?=2:>E96==@H65*?D64FC65"@2?
=2:> 2?5 E96 ==@H65 FDE@>6C =2:> D6A2C2E6=J 7C@> @?6 @C >@C6 @7 E96 7@C68@:?8 :? 2?J
492AE6C A=2?@7E96)-63E@CD62492?N)-&=2?O2D=@?82DE96EC62E>6?EAC@G:5657@C
DF494=2:>D:D4@?D:DE6?EH:E9E9:D=@32=(6EE=6>6?E8C66>6?E2?5E96==@H65(64FC65"@2?
=2:>H:==36A2:5AC@>AE=J:?42D97@==@H:?8E9667764E:G652E6@7DF49)-&=2?%E96CE92?
H:E9 C6DA64E E@ E6C>D 6IAC6DD=J AC@G:565 :? E9:D =@32= (6EE=6>6?E 8C66>6?E E96 =@4<:
==@H65=2:>DD92==C646:G6?@H@CD6EC62E>6?E:?4=F5:?8H:E9C6DA64EE@E:>:?82?52>@F?E@7
5:DEC:3FE:@?D:?4=F5:?8H:E9C6DA64EE@A@DEA6E:E:@?:?E6C6DE2D@E96CD:>:=2C=JD:EF2E652==@H65
4=2:>D:?E96)-&=2?

         7     =@4<:(FAA@CE7@C)-&=2?=@4<:D92==DFAA@CE2?5G@E6:?72G@C@72?J)-
&=2?E92EAC@G:56DEC62E>6?E@7E96=@4<:==@H65=2:>D4@?D:DE6?EH:E9E9:D=@32=(6EE=6>6?E
8C66>6?EN4@?D:DE6?EH:E9E9:D=@32=(6EE=6>6?E8C66>6?EO>62?:?8E92EDF3;64EE@6DE2E6
G2=F6492?86D27764E:?8E965:DEC:3FE:@?E@2==4C65:E@CD6BF2==JE96)-&=2?56=:G6CDDF3DE2?E:2==J
D:>:=2C@C36EE6C64@?@>:4D@?E96=@4<:=2:>D2DE96DECF4EFC64@?E2:?65:?E96AC6D6?E2E:@?
56=:G6C65 E@ =@4<: 3J E96 )- 63E@CD E:E=65 N&=2? '64@G6CJ ?2=JD:D D @7 646>36C 
      O 2?5 D92== ?@E : @3;64E @C 5:C64E=J @C :?5:C64E=J D66< D@=:4:E DFAA@CE 6?4@FC286 @C
A2CE:4:A2E6:?2?J5:D4FDD:@?D@C28C66>6?EE@@3;64EE@2?J)-&=2?D@=@?82DDF49A=2?:D
4@?D:DE6?EH:E9E96E6C>D2?54@?5:E:@?D@7E9:D=@32=(6EE=6>6?E8C66>6?E@C::2AA62C@C
>2<62?J7:=:?8D:?E96)-63E@CDP492AE6C 42D6D:?2?JH2J25G6CD6E@2?JA@D:E:@?E2<6?
3JE96)-63E@CD@C:?4@?D:DE6?EH:E9E96=@32=(6EE=6>6?E8C66>6?E@E96CE92?2D?646DD2CJ
E@I6I6C4:D6@C5676?5=@4<:PDC:89EDF?56CE9:D=@32=(6EE=6>6?E8C66>6?E@CJ@AA@D6
2?J>2EE6C@CAC@4665:?8E92EH@F=5DF3DE2?E:2==J:>A2:C=@4<:PD64@?@>:4C64@G6CJAFCDF2?E
E@E9:D=@32=(6EE=6>6?E8C66>6?E



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                                                       03/25/24
                                                           06/14/24
                                                                  PagePage
                                                                       6 of 16
                                                                            11 of 21




        8    AAC@G2=@7=@32=(6EE=6>6?E8C66>6?E,:E9:?D6G6?52JD@76I64FE:@?@7
E9:D=@32=(6EE=6>6?E8C66>6?EE96)-63E@CDD92==7:=62>@E:@?D66<:?82AAC@G2=@7E9:D
=@32= (6EE=6>6?E 8C66>6?E F?56C 656C2= 'F=6 @7 2?<CFAE4J &C@465FC6   :? E96 )-
2?<CFAE4J&C@4665:?8DE96N'F=6 #@E:@?O)96&2CE:6D28C66E@4@@A6C2E62?5E2<6DF49
24E:@?D2D2C6C62D@?23=J?646DD2CJ:?4=F5:?8:?E966G6?EE92E2?@3;64E:@?@C@E96C@AA@D:E:@?E@
E96'F=6 #@E:@?:D7:=65E@@3E2:?AC@>AE4@FCE2AAC@G2=@72?52FE9@C:EJE@6?E6C:?E@E9:D
=@32= (6EE=6>6?E 8C66>6?E 2?5 6?ECJ @7 E96 AAC@G2= %C56C 2D 567:?65 36=@H  )96 )-
63E@CD2?5=@4<:D92==7FCE96C4@@A6C2E62?5E2<6DF4924E:@?D2D2C6?646DD2CJH:E9C6DA64EE@
AC@>AE2AAC@G2=@7E9:D=@32=(6EE=6>6?E8C66>6?E:?E96=@4<:2?<CFAE4J&C@4665:?8D2?5
E96 A6?5:?8 42D6 @7 =@4<: ?E6C?2E:@?2= :? E96 (FAC6>6 @FCE @7 6C>F52 E96 N6C>F52
@FCEO

        9    ?7@C>2E:@? ':89ED  @==@H:?8 E96 (6EE=6>6?E 7764E:G6 2E6 E96 )- 63E@CD
D92==AC@G:56=@4<:H:E9:?7@C>2E:@?C62D@?23=J4@?D:DE6?EH:E9:?7@C>2E:@?AC@G:565E@2A=2?
DFAA@CEA2CEJ:?4=F5:?8H:E9@FE=:>:E2E:@?FA52E6DE@=@4<:H:E9C6DA64EE@E96EC62E>6?E@7E96
==@H65=@4<:=2:>D:?4=F5:?8E962>@F?E2?5E:>:?8@75:DEC:3FE:@?D@?244@F?EE96C6@7

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        2     #FEF2='6=62D6%E96CE92?2D6IAC6DD=JD6E7@CE996C6:?@?E96(6EE=6>6?E
7764E:G62E66249@7E96)-63E@CD@?E96@?692?52?5=@4<:@?E96@E96C92?5@?
3692=7@7:ED6=72?562492?52==@7:ED2?5:EDC6DA64E:G6A2DEAC6D6?E2?57FEFC6286?ED
25>:?:DEC2E@CD4@?D6CG2E@CDAC65646DD@CDDF446DD@CD2?52DD:8?D2==DF49C6=62D:?8A6CD@?D
2?56?E:E:6D4@==64E:G6=JE96N'6=62D:?8&2CE:6DO5@6D96C63J7F==JF?4@?5:E:@?2==J2?5
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2DD6DD>6?EDA6?2=E:6D492C86D:?56>?:E:6D8F2C2?E:6DAC@>:D6D4@>>:E>6?ED@C42FD6D@7
24E:@?@72?J?2EFC6H96E96C32D65:?4@?EC24EE@CE@C@E96CH:D6H96E96C:?=2H@C6BF:EJ2?5
H96E96C5:C64E@C:?5:C64E<?@H?@CF?<?@H?2DD6CE65@CF?2DD6CE657@C6D66?@CF?7@C6D66?
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        3     (A64:7:4 &6C7@C>2?46  E :D F?56CDE@@5 2?5 28C665 3J E96 &2CE:6D E92E >@?6J
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AC@>AE=JH:E92?J@7:ED@3=:82E:@?D96C6F?56C249&2CEJ2=D@28C66DE92E:EH:==?@E:D66<2?5
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@77:46CD6>A=@J66D4@F?D6=C6AC6D6?E2E:G6D286?ED@C2EE@C?6JD:?724E@72?J@7E96>7@C2?J
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42FD6 E@ 36 E2<6? 2== 2AAC@AC:2E6 24E:@? E@ 5@ @C 42FD6 E@ 36 5@?6 2== E9:?8D ?646DD2CJ F?56C
2AA=:423=6=2H2?5E@6I64FE62?556=:G6CDF495@4F>6?ED2?5@E96CA2A6CD:?624942D62D>2J
36C6BF:C65E@42CCJ@FEE96AC@G:D:@?D@7E9:D=@32=(6EE=6>6?E8C66>6?E2?54@?DF>>2E62?5
>2<667764E:G6E96EC2?D24E:@?D4@?E6>A=2E6596C63J

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E@86E96C4@?DE:EFE6E967:?2==@32=(6EE=6>6?E8C66>6?E2D:7@?65@4F>6?E925366?D:8?653J
2==&2CE:6D2?56249DF494@F?E6CA2CEFA@?6I64FE:@?2?556=:G6CJD92==36566>6524@>A=6E6
@C:8:?2=3:?5:?8E96&2CE:6DDF3D4C:365E96C6E@FA@?E966I64FE:@?3J2==&2CE:6DE@E9:D=@32=
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3J A57 ;A68 ) @C @E96C 7@C> @7 6=64EC@?:4 >2:= 2EE249>6?E H:== 36 566>65 67764E:G6 2D
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4@?7=:4ED@7=2HAC:?4:A=6DE92EH@F=5C6DF=E:?E962AA=:42E:@?@72?J=2H@E96CE92?E96=2H@7E96
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@FE@7@C32D65FA@?E9:D=@32=(6EE=6>6?E8C66>6?E2?5H2:G6D2?J@3;64E:@?E92E:E>2J92G6
E@E96=2J:?8@7G6?F6:?2?JDF494@FCE@CE92E2?JDF494@FCE:D2?:?4@?G6?:6?E7@CF>@C5@6D
?@E92G6A6CD@?2=;FC:D5:4E:@?@G6C:E:?4@??64E:@?H:E9DF492?24E:@?DF:E@CAC@4665:?8

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                                                                        PagePage
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Page 16 of 21




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                                                                      14 of 19
                                                                            16 of 21
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